08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                  F Pg 1 of 37




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08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                  F Pg 2 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                  F Pg 3 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                  F Pg 4 of 37
MAY-18-2007 17:40            ING Investment Management                                             P.001
     08-13555-mg      Doc 22630-1      Filed 11/16/11 Entered 11/23/11 10:58:46 Exhibit A -
                                             F Pg 5 of 37
    FXa I r                                                          900 Third Avenue
                                                                           3rd Floor
                                                                                      T +1 646 268 9900

                                                                           New York NY 10022
                                                                                               IF +1 646 268 9996
                                                                                               www,fxII.co ri




                                                   April 3, 2007
                                                                                                           i   I



       ING Investment Management, LLC
       10 Statehouse Square
       Hatitford, CT 06103


       Att : David L. Bercaw


              Re:    FXal User Agreements

              Welcome to FXall!

             Enclosed for your records please find an original fully-executed FXall User
       Agreement. Please feel free to contact mc at (646) 268-9900 with any questions you mL y
       have.

              We look forward to working- with you.


                                                   Best regards,




                                                   Stephanie Noel
       En ()sure
MAY-18-2007 17:40                           ING Investment Management                                                                            P.002
         08-13555-mg             Doc 22630-1             Filed 11/16/11 Entered 11/23/11 10:58:46      Exhibit A -
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                                                               F Pg 6 of 37
                                                     FXall Master User Agreement

The undersigned hereby agree to the terms of the FXall Master User Agreement (the "Agreement') In the form attached hereto. Includ rig the prica
optional services elections made below by selecting the appropriate boxes below. Capitalized terms used herein shall have the same meanings
asaibeel thereto n the Agreement.


                                                                  Pricing Plan Options


Customer elects to subscribe for the Special Plan indicated below If no Indication is made below, Customer will be subject to the "Base Plan" fees
forth in the Agreement.


                    0.        "Ruby Plan"                                                   0         "Sapphire Plan"

                    / "Emerald Plan"                                                        LI        "Diamond Plan -



                                                           Optional Service Elections


Customer elects to subscribe for the Services indiCated below :

                    0         FXall QuIckConnecra                                          LI         FXall TrAPI TM


Customers subscribing for a QC Custom Implementation and/or FXall TrAPIThi shall be required to execute separate agreements in re pect thereof.            ;:.




IN WITNESS 1/11F1 EREOF, this Agreement has been duly executed as of the day written below (the "Effective Date").


FXall:                                                                     Customer:

FX Alliance LLC, for itself and its affiliates, referred to as                       7.,,,JJ        jv.Jc      1k4                           tLL
"Otall," arm the rat person (e.g., "we," "OS" or "our")                    for Itself and as agent for its clients (as defined n the Agree ent),
                                                                           referred to OS "Customer," or In the second person (e.g., "you" or "your")


By                                                                         By:
Name:                                                                      Name:
                                       Fer-4404          740
Title.                                                                     Title:
               c
                                                                           address:
goo Third Avenue
3'd Floor
New York, N.Y. 10022
phone: (646) 268-9900                                                      phone:          (a& -

fax: (646) 264996                                                          fax:                                 4,_3.3 1                                         •




         sL   'rt fxzirn
         _Ipp_@                                                            e-mail: r   D       %. _ raqC..41.-.7.      0.,P-1 6 .7-NJ OC-1.1-•    lfrJ,




Dated:                 1.111W- ti PS, 7 L3-)                            (the "Effective Date")




                                                                                                                            I NG /rive/Amain AM 2007.03.
MAY-18-2007 17:40                            ING Investment Management                                                                                   P.003
       08-13555-mg               Doc 22630-1               Filed 11/16/11 Entered 11/23/11 10:58:46      Exhibit A -
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                                                                 F Pg 7 of 37
                                                        FXall Master User Agreement
               1. General- This Agreement (including the Annexes and                You also hereby grant to us (and our affiliates) a perpetual,
   Operational Procedures) governs your use of the System to access                 worldwide, royalty-free, irrevocable license to aggregate, compile an
   certain FXall Content, Submit your Transaction Data and/or conduct               analyze your Transaction Data with data of other CutitC4nerS and/or
   those Transactions that are specified by us in Annex A. Capitafized              Providers and create tieriVative works therefrom. We will not sell,
   terms are dOlned In Section 20. Your use of the System Is                        license or provide to any person (other than you) any Aggregated
   conditioned On each person On whose behalf you conduct                           Transaction Data that directly or indirectly Identifies you without your
   Transaction ti (a "Client") having a Trading Relationship with each              prior written consent.
   Provider with which you conduct Transactions through the System.
   You admowierige and agree that (a) the System is solely a means to                         6. Authorized Persons. You shall designate one or mo
   communicate FXaIl Content and Orders and to facilitate Transactions;             employees or other persons under your control as your administrator
   (b) with respect 10 each Transaction, (i) we are not a party to, and will        or administrators, who shall designate Other such employees or
   not have anX liability, or maintain any trading accounts, with respect to        persons as Authorized Persons, or APs, who will be able to access
  such Transaction, (ii) you, acting as agent for your clients, and your            and use the System on your behalf. Each administrator will also be
  Client, will elltCh proceed only against the applicable Provider to               an AP. Each administrator will have the ability to distribute to each
  entree any of your clients' rights in connection with any such                    AP a unique User identification ("User ID") and a corresponding
  Transaction and (iii) subject to the terms of the applicable Trading              password or other access cede to enable such AP to access and use
   Relationship,' the relevant client account shall be liable for and neither       the System. The acts of your APs shall be deemed to be your acts.
  you, acting ak agent for such OCCOUnt, nor such Client account may                YOU Shall be liable to FXall for the conduct of your APS On the
  Mediate a transaction Upon receipt by the System of a Trade Offer                 System; in particular, you acknowledge that a breach by any of your
  from you; and (c) the opinions, research and recommendations of the               APs of any provision of this Agreement or any Trading Relationship
  Providers are not our opinions, research or recommendations, and we               constitutes a breach by you. Upon becoming aware of any improper
  do not endorse them or any FXall Content provided by Providers.                   access to or use of the System, you shall immediately n tify us and
  The relevant 'client account shall be responsible for the clearance,              immediately terminate Such person's access to and use of the
  execution and settlement of each such Transaction, as established by              System. You acknowledge and agree that access to and use of the
  the applicable Trading Relationship between the applicable client and             System is through the World Wide Web or other Internet services,
  the applicable Provider. In the event of a dispute between the parties            which are not necessarily secure, and we do not warrant that Such
  to a Transaction, we will provide, upon request, such information                 systems are secure. You Shall be responsible for the Ocurity of your
  pertaining to the Transaction as is available to us, subject to any               (and your APsa use of the System, and shall take and maintain
  obligation we have not to disclose such information and any legal                 appropriate steps to ensure the security of your (and their) use of the
  privilege.                                                                        System.

              2. License. FXall hereby giants you a non-exclusive, non-                        6. Your Use of the System. You agree that you will
  SUbliCentiable, non-transferable, non-assignable personal right and               access and use the System for your owe internal use. and will not
  liCenee, for the teen of this Agreement, to use the System and                    reproduce any portion of the System Or the FXall Content, or alter,
  Services in* Territory. If you request, we may make available, and                decompile or reverse engineer any component of the System (unless
  provide you with specifications for, one or more FXall software                   otherwise required by Applicable Law) or otherwise tak any action
  product Or SenriCes (Including, but not limited to, FXall                         likely to harm the System. Notwithstanding the foregoing, you may
  OuiCitConneetTm and/or FXall APls) ("Additional Licensed Materials")              make and retain copies Of reports and records produced by the
  to enhance your use of the System; our provision of any Additional                System of your own Transactions, and you may print cdpies of any
  Licensed Materials may be subject to the execution of an additional               portion of FXall Content. provided that you retain and comply with all
  agreement atid may be at an additional Charge. All AdditiOnal                     copyright and other proprietary notices and disclaimers. You agree
  Licensed Materials shall remain our property; are part of the System              that your aCCOSS to arid use of the System may be restrit ed by
  and you mayluse any such Additional Licensed Materials (and any                   APPlicabie Law, and that you will abide by such restrictions. You
  interface created from them) only in accordance with this license and             agree that you will not use the System to (i) send messalges that are
  any additional document or agreement governing the use of such                    fraudulent. harassing, libelous, slanderous, obscene, or violation of
  Additional Licensed Materials. We do not guarantee that your system               any rights of publicity or privacy; (ii) facilitate criminal tra sections; or
  will be able to Interface with the System through any such Additional             (Hi) contravene any Applicable Law. You agree you and the
  Licensed Materials and we shall have no responsibility with respect to            appropriate client account shall be bound by all communications,
  adapting your system to Interface with the System. You May not,                   including Orders and Trade Offers, which are accompanied by a Valid
  without our prior written consent, make any change or interface to the            User 110 (each, a "Customer Order"). We may rely on any such                  i•
  System that is not specifically authorized by the Operational                     Customer Order and shall have no duly to verify it furthefr. You shall
  Procedures.                                                                       be deemed to have given a Customer Order when we rcetve It
                                                                                    through the System (whether Or not you receive any
             3. Ownership of Intellectual Property. Your Transaction                acknowledgment). We may act on SuCh Customer Ordeirs. and any
  Data and all IP Rights therein are your property; other than the license          resulting Transactions and other related rights and obligations shall
  granted in Section 4, we obtain no rights therein. The System, all                be binding on you, as agent for your clients, and the appropriate client:
  FXall Content and all IP Rights in them are our (or our suppliers' or             account pursuant to the terms of the appropriate Trading
  licensors') property and, other than the license granted in Section 2,            Relationship. You shall be responsible for an administration of your
  you obtain no lights in them. You agree that all Click-Stream Data                use of the System, including Input errors, all record keePing, data file
  and all Aggregated Transaction Data and all IP Rights in them are Our             backups and maintenance. At all times you shall use industry-
  property, notwithstanding that they may be derived in part from your              standard anti-virus software and security Measures to *fed against
  Transaction Data or your use of the System. We shall have no                      any Viruses operating on your system.
  obligation to provide you with any Click-Stream Data or Aggregated
  Transaction Data. We agree not to, without your prior written                                7. Our Control of the System. Your access to and use of
  consent, seildliCenSe Or Otherwise provide to any person other than               the System may be subject to limitations we reasonably mpose and
  you any Clickl-Stream Data that directly or indirectly identifies you.            disclose to you. In addition, we may, without notice. impose further
  Each party sail promptly notify the other of any actual or threatened             restrictions due to market conditions, Applicable Law, the protection
  misappropriation Of any IF Right Of SuCh other party of which such                the security and integrity Of the System or other circumstances
  party beCOrnee aware.                                                             beyond Inc control of FAall, as we may determine; provided that, in
                                                                                    each case, we will inform you as promptly as practicable'. You agree
            4. Use of Your Transaction Data. You hereby grant us                    that any such limitation or restriction is for the exclusive benefit of
  (and our affiliates) a worldwide, royalty-free, irrevocable license during        FXall; you may not rely on us to Implement any iimitatidii Or restriction
  the term Of th s Agreement to transmit and distribute your Transaction            for your banal. We shall have sole oantroc over, and may make
  Data on the System on a real-time basis only to and from Providers                changes to, the configuration, appearance, content and functionality
  that you have designated and only in connection with the Services.                of the System; pmvided that we will give you advance written notice.

                                                                                z
MAY-18-2007 17:41                            ING Investment Management                                                                                 P.004
       08-13555-mg                Doc 22630-1               Filed 11/16/11 Entered 11/23/11 10:58:46       Exhibit A -
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                                                                  F Pg 8 of 37

   as soon as r . asonably practicable, of any change in the architecture            Applicable Law, or any agreement which binds you or afects any of
   of the System that would materially affect your ability to use the                your material assets; (iii) you, acting as agent for the a roprlate
   System, vve, do net guarantee the availability of, or your access to,             client, assume full responsibility for the applicable client; account's
   any Provideri on the System at any time. we may terminate your                    performance of each Transaction; (iv) either (A) any client aec.ount On
   access to a provider at any time, or may suspend or discontinue a                 behalf of which you access or use the System is not, a Benefit Plan
   Provider's partiCipatiOn on the System.                                           Client, or (B) your access to or use of the System wit not result in an
                                                                                     nonexempt prohibited transaction under ERISA or the gode (or any             :
              8. Investment Authority. You represent that you conduct                similar law); (v) each individual you appoint as an AP participates in
  Transactions exclusively on behalf of clients, and that you have due               the conduct of any aspect of your foreign exchange exeution
  authorization hem each such dent to transact On the System and to                  activities; (vi) you and each of your APs whO use the SS)stem have all
  act as such Client's agent in conducting Transactions in foreign                   necessary lieenSes and authorizations (Including in connection with
  exchange, Money Market Instruments and other instruments and                       the conduct of Transactions); (vii) you are located. qualified and
  products. You represent, wan-ant and agree that such Transactions                  registered (if required) as a corporate or insthutIonal prdfessionat
  Create legal, ;valid, binding and enforceable Obligations Of the relevant          Investor in one of the jurisdictions listed in Part I Of Annex D, or you
  Client accounts enforceable by you and the applicable Provider in                  are located in a jurisdiction listed In Part Ii of Annex 0 and meet the
  accordance with their terms. You shall be solely responsible for all               requirements applicable to such jurisdiction as set forth therein (eithe
  aspects of yOur relationship with your clients and for compliance with             such jurisdiction being referred to as "your jurisdiction"); (viii) no AP
  Applicable Law In connecfion therewith, and we shall not be liable                 shall access or use the System unless such AP is a resident of and i
  with respect thereto. Without limiting the generality of the foregoing,            physically located in your jurisdiction; and (ix) any aocess to and use
  you shall (i) retain full responsibility for performing any required               of the System by you is only by APs. You expressly acknowledge
  assessment Of the suitability of each Order submitted by yOu On                    and agree that any access to or use of the System by arly AP who is
  behalf of a client; (II) provide Client support, including addressing all          physically located Outaide of your jurisdiction is Strially prohibited.
  inquiries from your Orients regarding Transactions: and (iii) provide              You agree to indemnify, protect and hold ',armless FXall, our Affiliate
  your clients with all required disclosures in connection with any                  Parties and our and thee Representatives (collectively, the "FXall
  Transaction,                                                                       Parties") from and against any Losses relating to or arising out of you
                                                                                     (or any of your APO use of or access lathe System, tee conduct of
             9. Foos. You shall pay us the fees specified in Annex a                 Transactions through tne System on behalf of a client of yours, or
  In addition, you shall pay any and all taxes and other charges                     your breach of any of your representations, warranties dr covenants
  Unposed by any government or taxing authority in connection with this              herein, other than Losses that are covered by our Indemnification
  Agreement oi- relating to the Services (other than Income tax on Our               obligations under Section 12, and except to the extent such Losses
  income). You shall also pay any line, communication or other                       result from our fraud, gross negligence, willful misconclubt, knowing
  charges arising from your use of the System. Amounts not paid to us                breath of confidentiality or material breath of any of our
  when due and payable Shall bear Interest at the liSBC prime bank                   representations, warranties or covenants herein.
  rate plus on1percent (1%) per annum from the date such amounts
  are due.                                                                                       12. Our Representations and Warranties. At all times
                                                                                     during the term of this Agreement, we represent and wOrant to you
              11/, Term and Termination. This Agreement shall be                     that we have at rights, authority, actions and licenses n oeseary to
  effective on the Effective pale fOr a period Of One year, and shall                provide you with rights to access and use the System 0 Med herein,
  automaticallibeu extended by successive one year periods at the end                and we shall Indemnify, protect and hold you and your
  of each term Ness either party terminates this Agreement as                        Representatives harmless from and against any Losses reafiting from
   provided herein. This Agreement May be terminated (a) by either                   Or arising out Of any Proceedings, to the extent that the are based
  party (I) upon written notice immediately on any breach by the other               Upon a claim Of breach Of the foregoing representation ncl warranty,
  party of Section 2, 3 or 18 of this Agreement, (ii) upon the failure of            except to the extent such Losses result from (i) your *arid, gross        ;..
  the other party to cure its breach of any other provision of this                  negligence, willful misconduct or knowing breach of confidentiality or 1
  Agreement Within thirty (30) days of its receipt Of written notice Of              (ii) your use of the System in any manner not permitted hereunder;
  such breath from the first party or (iii) at any time, upon thirty (30)            previded that, and without limiting the foregoing indemnification
  days prior written notice to the other party, (b) by you upon written              obligation of FXall and the disclaimers set forth in Sectidn 18, if any     !.,

  notice within thirty (30) days Of any notice of Increase in any fee for            third party asserts a claim that the System Infringes or violates such
  Services yOUIOUrrently receive, or (c) by us in the event that the                 third party's IP Rights or that we de not have all rights. authoilty,
  System has been compromised. Immediately upon termination of this                  actions and licenses to provide you with the right to access and use
  Agreement, the license granted in Section 2 shall terminate, you shall             the System granted nesein, we may, at our election, either (A) defend :
  cease all use of, arid shall not access the System, and you shall                  against such claim, (S) modify Or redesign the System te avoid such ,i
  promptly return to us or destroy, at your expense, all documents and               infringement Claim, (C) obtain a license from such third Party to permit! .
  other materials (and all copies thereof) that contain, refer to, or relate         you to continue to use the System, or (D) terminate this Agreement '
  to the Systenii, Services or FXell Content except for necessary                                                                                              ?
                                                                                     The provisions of this Section 12 state the sole and exclbsive liability !
  archival copies, provided, that your confidentiality obligations                   of FXall, and your exclusive remedy, with respect to shy such third
                                                                                                                                                               ;
  hereunder with respect to the retained archival copies shall Survive               party claim, Notwithstanding the foregoing. you tick owlodge n            ■
                                                                                                                                                               ;
  the termination of this Agreement and shall continue for so long as                and agree that we may not be licensed, authorized, !stored or
  you retain sush archival copies. You agree to certify to us in writing             otherwise permissioned in any jurisdiction other thin the                 ;
  (upon our request for any such OartifiCaliOn) that all Such Materials              Territory described in Annex 0 heretCh as amended from time to 1
  have been returned or destroyed- YOU agree that we May inform any                  time by us by notice to you; and you further acknovdedge and
  Provider withlwhich you have a relationship that this Agreement has                agree that you will be responsible fOr ensuring that any activity ;
  been terminated. Termination of this Agreement shall not affect a                  that you undertake in any jurisdiction, whether as principal or
  party's obligations with respect to any liability Or matter arising prior to       agent on behalf of your clients, Is in compliance with Applicable
  such termination, Including any Transactions executed or fees due or               Law.
  accrued priori to such termination. The provisions of Sections 3, 4, 10.
  18, 17, 18, 19 and the indemnification obligations of Sections 11 and                        13. Personal Information. We collect the following
  12 shall survive any termination Of this Agreement                                 personal infomiation about each AP: name, company mime and
                                                                                     address, company e-mail address and phone number, and an
              11 Your Additional Reprosentations and Warranties.
               ]                                                                     additional entry to be used as verification of an AP's idttity in
  At all times during the term Of thia Agreement, you represent, warrant             telephone calls with the Client Interaction Center, such s the name of
  and Covenant to FX811 that (i) this Agreement is duly authorized and               a 04 easily remembered by the AP but not easily ascetined or           '
  executed, and creates your legal, valid and binding obligation                     guessed by a third party. We may use an AP's persona information
  enforceable by us in accordance with its terms; (ii) the execution,                (i) to identify the AP as a representative of the Customerr, (ii) to
  delivery and performance of this Agreement does not violate any                    monitor use Of the FX811website, and for internal administration and


                                                                                 3
MAY-18-2007 17:42                            ING Investment Management                                                                               P.005
       08-13555-mg               Doc 22630-1               Filed 11/16/11 Entered 11/23/11 10:58:46       Exhibit A -
                                                                                               ING Investment Am 2007,03.15.07 4
                                                                 F Pg 9 of 37

   analysis; and (iii) to send each AP information about our products and           the System, or for delays Or omissions therein or Interruptions
   services. All AP may opt out of the opportunity to receive such                  on the delivery thereof, in no event shall any FXali Party be
   information at any time by notifying us. By disclosing an AP's                   liable for any special, indirect, exemplary. Incidental, punitive Or
   personal Information to us, you and each AP consent to the                       consequential damages, whether foreseeable or not, relating to
   disclosure of such AP's personal Information to FXall for use as                 your use of, or inability to use, the System, even if We have beeni=
   described above. Prior to Initial access 10 the System, each AP shall            advised of the possibility of such damages. No FXali Party shell '
   electronically', execute an acknowledgement appearing On the System              have any duty to verify, correct, complete or update the System =
   to the effect that such AP consents to the disclosure, collection,               (or any information thereon).
   storage and processing of the personal information described above.
   We May send an AP'S personal information Internationally so long as                            18. Confidential information. Each party acknowledges
   the purpose Of such transmission is within the permitted use as                   that it or its Representatives may be exposed to or accitiire
   destribed above.                                                                  information which Is proprietary or confidential to the otber party, its
                                                                                     affiliated companies or third parties (including any Customer or orient
               141 Cookies. We may set cookies on an AP's computer as                account). Any and all Information obtained by such party (or its
   iclentificationito permit access to areas of the FXall webslte in place of        Representatives) including the Services, any trade secrets,
   login and password and to record use of the FXall website; no such                processes, proprietary data, and information or documentation reiated: ,
   cookies shall be accessible by domains outside of FXaii,                          thereto shall be deemed to be confidential and proprietary informatio l'r,.
                                                                                     ("Confidential information"), but Shall not include information which is
                  Third Parties. Certain parts of the System are                     or becomes part 0 the public domain, or information which is known
  provided by or in conjunction with third parties. We are not                       or developed by a party outside of this Agreement, or obtained from ai:
  responsible for the use of personal information that an AP gives                  third party not bound by any confidentiality obligation. confidential 11.
  directly to such third parties, or which such third parties may collect            Information of FXall includes any FXall API, FXall Additl nai Licensed
  about an APIwhile such AP visits pages hosted by them. APE; should                 Materials and any related documentation, the terms of tfiis Agreement.
  refer to the respective privacy policies of such third parties for                and any other information designated orally Or in writing as
  information about their use of personal information.                               confidential. Each party agrees (I) to hold Confidential 1 forrnation of
                                                                                    the other in strict confidence; (II) net to disclose such C nfidentlal
             16. Disclaimers. Except as set forth In Section 12, the                 Information to third parties or to use such Confidential I rmation for
  FXell Parties make no representation or warranty to you as to the                 any purpose other than as contemplated and authorized by this
  System or Customer Transaction Data, express or Implied,                          Agreement; and (iii) to advise each of its Representatives who may be:
  including any implied warranty of merchantability Or fitness for a                exposed to such information to keep SuCh Confidential ihformation
  particular pirrpose, any warranty of non-Infringement, or any                     confidential; provided, however, that we may disclose the terms of this!
  warranty regarding the ability or Inability to use, or, as                        Agreement (and Annex E hereto) to any Provider to villein you expe.
  applicable, the result of. the System or Customer Transaction                     to Submit Orders, with whom you expect to conduct Transactions or
  Data, with rispect to their accuracy, reliability, performance,                   whose Provider Content you expect to access through the System. A.
  completeneis, timeliness, continued availability or otherwise, or                 party may disclose Confidential Information of the otherlparty If such '
  any warren* that the System or Customer Transaction Data will                     information is required to be disclosed by Applicable Law or pursuant
  conform to any description thereof provided by us. he free of                     to a subpoena or order of, Or in connection with any repart, audit,
  errors or perform any desired operations or functions. You                        inquiry or other request for information from, a court or i regulatory,
  acknowledge and agree that the System is provided on an "as Is"                   self-regulatory, legislative or other governmental body o competent
  basis at yoUr sole risk. No FXali Party will have any                             jurisdiction to which such disclosing party or any of its
  responsibility to maintain the System Or to supply any                            Representatives is Subject; provided, however, that pilot notice Of
  corrections updates or releases In Connection therewith. No                       such disclosure Shall be provided to the non-disclosing party as soon i
  FXall Party shall be deemed to be an advisor or fiduciary to you                  as practicable so that the non-disclosing party may seek an
                                                                                                                                                               1
  or your client accounts; neither access to nor use of the System                  appropriate protective order or lake such action as the non-disclosing i
  shall constitute any Investment advice or advertisement, any                      party deems appropriate to prevent or limit the release or disclosure 1.'
  offer, or solicitation of an offer, by any FXall Party for the                    Of such information.
  purchase or sale of any Investment, securities or other property
  or a representation that any investment, security or other                                    19. AddMonal TOMS. (a) This Agreement Is doomed
  property is Suitable for you or your clients.                                     entered into in the City of New York. and Shall be governed by
                                                                                    the laws of the State of NeW York. The parties hereby consent to
             In accessing or using the System, you may be linked to                 the personal jurisdiction of, and venue In, the state and federal
  websites or Otherwise presented with material provided or prepared                courts in New York County, New York. (b) Neither party may
  by third parties. We shall not be liable for the content, views,                  assign Or tranSfer this Agreement without the other party's prior
  opinions, products or services offered on such websites. You                      written consent; provided, that we may assign Or trial thia
  acknowledge and agree that certain of our Providers and/or their                  Agreement to any affiliate or legal successor of ours wi out your
  customers may be active principals in the markets for the instruments             consent. (c) Notices hereunder may be transmitted by hard copy,
  available for trading on the System (or similar or related Instruments)           faCSimile, in electronic forth On the Internet, by electronic mall or
  and may engage in transactions in such instruments before, after or               through any other electronic or digital communications system not
  Simultaneously with your entry of an Order or at different prices from            prohibited by Applicable Law. (d) Each party agrees that it will not, ;
  those provided through the System and may have material non-public                withOut the prior written consent of the other party, use te Other
  information With respect thereto. Certain Providers and Customers                 party's name (including any trademarks or proprietary id Millers) or
  also may be affiliated with, or own interests in, FX811.                          represent that any product or service has been endorsed by the other
                                                                                    party. (e) Except with respect to changes to the Operational
            Neither party hereto shall be liable for any delay or failure in        Procedures, the Services, the Territory and with respect l to changes In:
  the performance Of Is Obligations hereunder if and only to the extent             fees charged 'kir access 10 the System, which may be atnended by usi;
  such delay or failure is attributable to any cause beyond such party's            on notice to you, this Agreement may not be amendedr modified
  reasonable controi.                                                               unless expressly agreed to in writing by both parties, (f) if any
                                                                                    provision or term hereof is Illegal, Invalid or unenfOrCea 0, the
             17, Limitation of Liabilities. Except for the                          legality, validity and enforceability of the remainder Of Vila Agreement
  Indemnification In fieclion 12 and any Ursula that you Incur                      shall not be affected. (g) This Agreement contains the einiire
  arising fromiour fraud, gross negligence, willful misconduct or                   agreement of the parties, and supersedes au i other agreements           !
  knowing brOaeh Of confidentiality, none of the FXall Parties shall                between them, with respect to its subject matter.
  have any liability, direct or Indirect, contingent or otherwise, to
  you or to third parties, for the accuracy, reliability, performance.                         20. Definitions. As used herein, the following terms shall
  completeness, timeliness, continued availability or otherwise. of                 have the following definitions.



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MAY-18-2007 17:43                           ING Investment Management                                                                             P.006
       08-13555-mg               Doc 22630-1              Filed 11/16/11 Entered 11/23/11 10:58:46 Exhibit A -
                                                                                              ING Investment AM 2o07.03.15.07
                                                               F Pg 10 of 37

            Additional Licensed Materials shall mean FXall software                           Provider shall mean a dealer or other provide of foreign
  products or services (including, but not limited to, FXall                       exchange or other products participating in the System.
  QuickConnect'!" and/Or FXall APIs) designed to enhance the                                  Provider content shall mean articles, research, forecasts,
  Customer's use of the System.                                                    reports, advice, lectures, speeches, on-line chats, data, Information
            ailategfarty shall mean any Provider, or any affiliate,                and other content relating to foreign exchange markets and other
  equity owner; third-party vendor, contractor or technology supplier of           markets, transactions and related products supplied by Providers to
  FXallOr Of a Provider.                                                           FXall.
            6,dgagakci_Transaction_Data shall mean Customer                                   Representative of a party shall mean each of Luch party's
  Transaction Data that is aggregated, compiled and analyzed together              directors, officers, employees, agents. secondees, representatives
  with transadlon-related data of others.                                          and APs.
               Agreement shall mean this agreement between FXall and                             Event shall mean an event connected With the
   Customer, including all Annexes hereto.                                         Customer's use the System's Settlement Center functionality. The
               ,82 shall mean an Authorized Person.                                following events are SC Events!
               API shall mean an application programming interface of the                               (a) Matching_ Each match for an al ocation shall
   System, whiCh will enable a customer computer system to interface                         be an SC Event A single Transaction May gi e rise to
   with the Sysbzim.                                                                         multiple allocations and, consequently, multi') e SC Events.
                                                                                             Each allocation shall be a separate SC Event A Swap
              411cabie . Law shall mean any foreign, federal, state or
                                                                                             Transaction will give rise to a minimum of twp SC Events.
   other law, rule, regulation, interpretation or action of relevant
   regulatory organizations or self-regulatory organizations applicable to                              (b) Netting. In the event the Customer agrees
   access to and use of the System, including the Gonad Of                                   with a Provider on a reduced number of currency payrne
   TransactionS.                                                                             In respect of multiple Transactions between the Customer
                                                                                             and such Provider, each such .netted payment will be
              Authorized .Le= shall mean an employee or other person
                                                                                             treated as a separate SC Event (in addition td the SC
   under your control designated by you or one of your administrators to
                                                                                             Events in respect of each allOCation fer each Transaction
   be able to access and use the System, Services and FX.all Content on                      included in the netted payment).
  your behalf.
                                                                                                          (0) Messaging Each message sent on behalf of
               Bep efit Plan Client shall mean any one of the following: (a)
                                                                                              the Customer Over the SWIFT network (other han the first
   an "employee benefit plan" (as defined In Section 3(3) of ERISA),
                                                                                              IvIT200 sent to the Customer's counterparty ir connection
  whether or nd subject to the fiduciary responsibility provisions of                         with the original match) shall be a separate SC Event.
   ER1SA, including any U,S. or foreign governmental or private pension
                                                                                              Each message sent notifying a third party of Ei Transaction,
   plan. (b) a "plan' described in Section 4975(e)(1) of the Code or (c)
                                                                                              a modification to a Transaction, or a change in settlement
  any person Or entity that is, or would be deemed to be using, for
                                                                                              instructions Shall be a separate SC Event. Neither
  purposes of the fiduciary responsibility provisions of ERISA or Section
                                                                                              transmission of a give-up message by Custorner to its
  4976 Of the Code, an asset of any of (a) or (b) above.
                                                                                              prime broker through the System nor receipt by Customer
              gjgh&imeallata shall mean click-stream and similar data                         of an acknowledgement from its prime broker shall be
  that traCkS the use Of the System by any person.                                            deemed to be an SC Event for the Customer.
              Custemer snail mean the customer whose name appears                             Services shall mean the services provided thr ugh the
  on the first page of this Agreement as "Customer."                               System to customers, as described in Annex A, as ameifided from
                  I                                                                time to time by FXall in its discretion.
              Code shall mean the U.S. internal Revenue Code of 1986,
  as amended]                                                                                 $_vaiern shall mean the Internet-based, interative electron!
              0,616 Shall mean the Employee Retirement Income                      trading interface and information distribution platform Operated by or
  Security Ad Of 1974, as amended.                                                 on behalf af FXall, Including (a) the FXall Content. (b) the Services,
                                                                                   (c) any FXall APlandior Additional Licensed Materials airid (d) the
              F411 pontent shall mean all content, data and Other
  Information appearing on the System, including Provider Content, but
                                                                                   FXall websltes, on and through which customer may (I) obtain access       1':
                                                                                   to rXell Content, (ii) submit Customer Transaction Data ko one Or
  excluding Customer Transaction Data.                                             more Providers and (iii) initiate and conduct Transaction , .
              FXkliParty shall mean FX2111, our Affiliated Parties and our
                                                                                              TerrItcp shall mean those jurisdictions listed In Annex 0,
  and their Representatives.                                                       amended from time to time by FXall in its reasonable dlicrefion,
              LP Rights shall mean all intellectual property and proprietary                  Trade Offer shall mean any message from the Customer
  rights in any jurisdiction, including such rights in copyrights.                 requesting to trade on specified terms after receipt by the Customer
  trademarks, service marks, patents and trade secrets.                            a quote from a Provider.
              Lasses shall mean liabilities, judgments, settlements,
                                                                                              Trading Relationship shall mean the trading re lationship
  damages and costs, including reasonable attorneys' fees and                      between a Customer and a Provider, which relationship will govern
  disbursements.
                                                                                   the rights and obligations between the Customer and the Provider in
              MOheY Market instrument shall mean a short-terrn deposit             connection with a Transaction.
  or loan with a banking institution appropriately regulated in the                           Transaction shall mean any transaction in respect of
  relevant jurisdiction where the deposit Is taken or the loan made, as            currency (including Money Market Instruments) Or fOreig exchange
  applicable.                                                                      or ether transactions including those described in Anne A, as
              Operational Procedures shall mean the FXab Customer                  amended from time to time by FXall In Its discretion,
  Administration User Guide, the FXall Trader User Guide, the FXall
                                                                                              Transaction Data shall mean requests for quotes, offers,
  Operations center User Guide, the FXall Settlement Center User                   blds, pricing, matching, netting settlement and similar transaction-
  Guide, the FXall QuickCenneer" User Guide, the FXall Money                       related information submitted to one or more Providers, and
  Market User Guide and other similar user guides, as such may be                  messages sent in respect thereof: Transaction Data Includes
  amended from time to time by us after notice to you.                             information in respect of Transactions conducted through the System
              QaderS Shall mean the instructions, requests for quotes,             through the use Of the System's trading functionality, as well as
  bids, offers, orders and other Transaction-related communications                information a Customer may upload to the System in respect of
  appearing onithe system.                                                         Transactions conducted otherwise than through the use of the
           Proceeljno shall mean third-party suits, actions, claims,               System's trading functionality.
  demands Or similar proceedings.                                                             Viruses shall mean any computer viruses, worms, Trojan
                                                                                   horses or other harmful codes.



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MAY-18-2007 17:43                          ING Investment Management                                                                            P.007
       08-13555-mg              Doc 22630-1             Filed 11/16/11 Entered 11/23/11 10:58:46                                     Exhibit A -
                                                             F Pg 11 of 37

                                                    Annex A - List of 11Insactions and Services




   TRANSACTIONS
                                                                                  accessing FXall Functionslitx. Customer may access FXall
   The System permits the Customer to execute the following foreign               functions through the FXall Graphical User interface (041), through a   f
   exchange Transactions through the System's Trading functionality:              variety of upload/download and other interfaces to integrate rxali
                                                                                  with Customer's internal systems (which shall constitutel Additional
   •    Spots                                                                     Licensed Materials), and through third-party systems provided by
   •    Swapli                                                                    approved FXall vendors.
   •    Forwards
                                                                                       2g.iCkConnectw
               1
   in each case for various currencies.
                                                                                       FXall QuickConnectml is an FXall application that runs at the
   The System also permits the Customer to execute Transactions in                     Customer's site and allows the Customer to upload Transaction
   Money Market Instruments through the System's Trading                               information from a Customer system in the CuStOnier'S format
   functional                                                                          In the FXall System and download Transaction information from
                                                                                       the FXall System in the Customer's format to a Customer
   The System will also permit the Customer to request the applicable                  system. Customer May itself implement OuickConbect to
   Provider to agree to amend a Transaction after It has been executed.                integrate a Customer system to the FXall trading application
   Amendments may take the following form:                                             (TXall Trading Center"). the FXall Settlement Center or FXall
                                                                                       Market Insight (each of FXall Trading Center, Settlement Center
                                                                                       and Market insight being referred to as a "CC Avai able
   •   Post Trade Allocations
                                                                                       Function"), using FXall's standard Ali_ messaging formats
   - Value Date To Follow
   •   Cancel and Rebook
                                                                                       CC Integration Toolkit. Customer may Implement I
                                                                                                                                          11
                                                                                       identified in the CiulckConneettm User Guide by means of the
   •   Rebook at Average Rate
                                                                                       QuiaCOnneCt to integrate a Customer System tO one or more
   •   Historical Rate Rollovers                                                       CC Available Functions using messaging formats Other than the
                                                                                       Fxall standard XML formats Identified In the OuickConnectw
                                                                                       User Guide via the DC Standard Integration Serviii); or
   SERVICES
                                                                                       Customer may request a Custom integration recuirikg an
                                                                                       extraordinary amount of effort and/or labor, as dete rmined by
                                                                                       FXall in its discretion (a "DC Custom Integration"),
   Information. FXall will provide basic research supplied by
   Providers, to the extent the Providers choose to make Such research                 FXall TrAPI TM
   available through the System without charge.
                                                                                       TrAPIlm is in an application program interface that tutomates
   &main. The FXall Basic Reporting Service allows Customer to                         request-for-quote and dealing functions between CPstomer's
   access and run detailed analysis and reports of Customer's tracing                  treasury and/or order management system and FX011. TrAPITH
   activity, FXall's Relationship Manager Adviser (RMA) report, and                    is available in both Java and COM formats, and IS subject to a
   rXell Official Hourly Rates and benchmark rates. In addition, the                   separate, additional license agreement. A subscription to the
   Customer May Obtain ClOwnlOadable benchmark rates, among other                      TrAPI TM Includes the FXall Indicative Quotes applIdatIon
   information,Ithrough FXall Market Insight, available through FXall                  program interface.
   OulaConnectTm. The information contained in the FXall Basic
   Repelling Service and FXall Market insight is Confidential
   InfOrmation,Isubject to the provisions of the User Agreement,                  FXall may make new or additional services available from time to
   including such information as FX,ali averages, benchmark rates and
                                                                                  time: to the extent that there are any additional Charges associated
   other statistO information relating to the FXall System, all of which          with such new or additional Services, the Customer may decline to
   is COnfidential and proprietary to FXall.                                      subscribe for such services.
   Amtklomontl FXall Settlement Center facilitates the processes of               EXall may amend the provisions of this Annex A from time to time in
   confirmation matching, settlement netting, settlement instruction              its discretion, upon prior written notice to you
   enrichment and third party notification in respect Of foreign exchange
   and Money Market instrument Transactions.




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MAY-18-2007 17:44                          ING Investment Management                                                                      P.008
         08-13555-mg             Doc 22630-1            Filed 11/16/11 Entered 11/23/11 10:58:46                                Exhibit A -
                                                             F Pg 12 of 37

                                                            Annex B - Pricing Annex

   Customer Price Schedule

  Services preceded by an asterisk (") are for optional services: a Customer may Substhbe for one or more of such optional services by electing
  to do so by checking the appropriate box under the heading "Optional Service Elections" on the first page hereof. A Customer may elect one of
  the Special pricing Plans deathbed below by checking the appropriate box under the heading "Pricing Plan Options" on the first page hereof.
  All Special Pricing Plan elections shall be effective for a period on one year from the time the election is made.

  If the GustoMer elects one of the special pricing plans on the first page hereof (the "Ruby Plan," the "Emerald Plan," the "Sapphire Plan" and the
  "Diamond Plan," each, a "Special Plan"), Customer will be subject to a Special Plan Fee set forth below under the description of tile Special
  Pricing Plan Selected by the Customer. The Special Plan Fee charges will be assessed on a monthly basis in arrears. Customer who do not
  elect a Special Plan will be subject to the "Base Plan" fees set ferth below; any such Customer may change its election to any one of the "Ruby ,
  Plan," the "Emerald Plan," the "Sapphire Plan" or the "Diamond Plan" at any time.

  We may make changes to any fee on no leas than thirty (30) days prior notice to you. If we make new or additional services available we may ;
  charge for them. A charge Imposed for a new or additional service shall not tie deemed to be a change to a fee set forth below. You, of course,
  may decline to subscribe for such service and avoid such charge.


  FX1111 "Base Plan"

  User/Transaction Sueport Fees

  Basic Services. Customers access to the System shall be via Authorized Persons appointed Oy the Customer, at least one of which Shall be
  Customers administrator ("Entitlements manager"). Customer shall be subject to monthly Userfrrensaction Support Fees at the rate of $300
  per user per month for each such AP enabled to access the System with respect any functionality other than the Money memet Instrument
  Transaction's functionality.

  Money Market User/Transaction Support Fees and Money Market Supplemental Fees. Customer shalt be subject to Monthly Use Nransactlo
  Support Fees at the rate of $300 per user per month for each AP enabled to access the System with respect to Money Market in rument
  Transactionsifunctionality only (such Money Markets Only AP shall not have aCCeSS to any Other functionality available through the System)
  ("Money Market UserfTransaction Support Fees"). In addition to the monthly tlsortrreneaotion Support Foos set forth under sa ic Services
  above, Custdmer shall be subject to monthly Money Market Supplemental Fees at the rate of $150 per user per month for each AP enabled t
  access the Sistem with respect to both Money Market Instrument Transactions functionality and any other functionality available through the
  System; proi4ded that if the Customer has any AP enabled to access the System with respect to Money Market Instrument Transactions
  functionality then Customer shall be subject to a minimum monthly charge of $300 per month for all Money Market User/Transacticin Support
  Fees and Money Market Supplemental Fees.


  No User/Transaction Supportfee shall be payable in respect of one Entitlements Manager user if Customer Is paying User/Transaction Support
  Fees in respect of at least one non-Entitlements Manager User. User/Transaction Support Fees (including Money Market UsenTransactIon
  Support Fees and Money Market Supplemental Fees) will be assessed on a monthly basis in arrears (a portion of the Customers first payment
  to FXall in eahh year. In the amount of $100, shall be a site license fee).

  ktUrEflig01_0PrIter

  Settlement Cel nter semIces are made available to the Customer for a fee In respect of each $O Event ("SC Event Foos") as follows:

                        First 200 SC Events in a calendar month..                                           $3.00 per SC Event
                        Next 200 SC Events in such calendar month                                           $2.00 per SC Event
                        Additional SC Events thereafter In such calendar month„                             $1.00 per SC Event

  These charges will be assessed on a monthly basis in arrears.

  -   QuickConneelim

  Customer my elect to implement QuickConnectTu to integrate one or more Customer systems in one or more locations to the FX II System by
  making the election noted on the first page hereof. A Customer electing implement QuickConnectrm to integrate One Or More Customer
  systems at cate or more locations shall be subject to a 00 Integration Fee in respect of each Customer system integrated at each location
  through a QuickConnectim implementation to each CC Available Function and a QC Maintenance Fos In respect of each Customer system at
  each location! integrated through a OulekCOnneetl" implementation to one or more QC Available Functions, The CC integration Fee in respect
  of each Customer system at each location will be assessed in advance of the integration of Seer' system at Such location; the QC Maintenance
  Fee In respect of each Customer system integrated at each location will be assessed on a monthly basis in arrears. The fees for each Custome
  system integrated at each location shall be as follows:

              (a) I     the QC Integration Fee shall be $10.000 for each System at each location and each QC Available Function integrated vie
                        the QC Integration Toolka and the QC Maintenance Fee shall be $250 per month for each Customer system at each
                        location integrated via the QC Integration Toolkit;
              (b)       the QC integration Fee shall be $15,000 for 000h System at each location and each QC Available Function integrated vie
                        the QC Standard Integration Service, and the QC Maintenance Fee shall be $500 per month for each system at each
                        location integrated via the CC Standard Integration Service; and
              (c)       for a CC Custom Implementation, the QC Integration Fee and the QC Maintenance Fee shall be mutually agreed by FXall
                        and the Customer.
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MAY-18-2007 17:44                             ING Investment Management                                                                    P.009
       08-13555-mg                Doc 22630-1              Filed 11/16/11 Entered 11/23/11 10:58:46                             Exhibit A -
                                                                F Pg 13 of 37

   For the avoidance of doubt, a Customer integrating a single Customer system at a single location via the OC integration Toolkit to both the FXal
   Trading Center and the FXall Settlement Canter shall be subject to an aggregate QC integration Fee of $20,000 (i.e., $10,000 per QC Available
   Function integrated to each Customer system at such location, in this case two QC Available Functions and one Customer system at a single
   location) and an aggregate OC Maintenance Fee of $250 per month (1e., $250 Per Customer system integrated per location, in this case one
   system and One location),
                1
   tFXll TrAP1
                1
  Customer may elect to license the FXall TrAPITM by making the election noted on the first page hereof, and executing a separate FXall TrAPI""
  License Agreement. A Customer licensing TrAPITm shall be subject to a TrAPITh Set-Up Fee and a monthly TrAPITIA Maintenance Fee. The
  TrAPITM4 Set-pp Fee will be assessed in advance; the TrAPIlm Maintenance Pee will be assessed on a monthly basis In arrears. The TrAPPm             ;.•

  Set-Up Fee shall be $10,000 and the TrAPITm Maintenance Fee shall be $10,000 per month.


  Services preceded by an asterisk (*) are for optional services; a Customer may subscribe for one or more Of such optional services by
  electing to do so by checking the appropriate box under the heading "Optional Service Elections" on the first page hereof. A
  Customer may elect one of the Special Pricing Plans described below by checking the appropriate box under the heading "Pricing
  Plan Options" on the first page hereof. All Special Pricing Plan elections shall be effective for a period on one year from the time the
  election Is made. Customers who do not elect a Special Plan will be subject to the "Base Plan" fees set forth above; any such                             ,


  Customer may change its election to any one of the "Ruby Plan," the "Emerald Plan," the 'Sapphire Ptah" Or the "Diamond Plan" at
  any time.

  FX111"Base          n" Trial Offer Period

  FXall Shall waive any User/Transaction Support Fees, Money Market Supplemental Fees, Settlement Center Subscription Fees and SC
  Event Fees for the period (the "Trial Period") beginning on the Effective Date and ending on the earlier to occur of (a) that date that Is
  one month after Customers first transaction through the System, (b) that date that is one month after Customers first SC Event or
  (c) that datelthat is three months after the Effective Date.


                                                               EXall 5..peclal Pricing Plans


  FXall "Ruby Plan"                                                                date that is one month after Customer's first SC Event, or (c)
                                                                                   that date that is three months after the Effective pate. in the
     ESELLIEUhy_Eiarr Seecial Plan Fee                                             event Customer wishes to commence a OulokC 'moor'
     The FXall "Ruby Plan" requires Customer to pay a monthly                      implementation during the Trial Period, Custom r shall pay ;
     Special Plan Fee of $995. and provides Customer the following                 FX,all a QC integration Fee of $10,000 In respect thereof.
     changes from the FXail "Base Plan."                                           Customer may terminate this Agreement at any thno during
                                                                                   the Trial Period by giving notice to rXiiii; any arnOunts paid tO
     Vier/Trantrection SKIDOO Fees                                                 FXall during the Trial Period (e.g., a OC Integratlen Fee) shall
                                                                                   be non-refunoabie,
     Customer shall be entitled to appoint five (5) Authorized Persons
     (including at least one Customer administrator) at no additional            FXall "Emerald Plan"
     charge to the Customer ("Base Users"). if the Customer wishes
     to designate AFs in addition to the Base Users, the Customer                 EMELnerald.Plan" Special Plan Fee
     shall be subject to monthly User/Transaction Support Fees of                 The FXall "Emerald Plan" requires Customer to pay a monthly
     $250 per user in excess of the Base Users.                                   Spatial Plan Fee of $1,895, and provides Customer the following
     Money Market Fees                                                            changes from the FXall "Base Plan."
     The Customer shall be subject to a monthly Money Market Fee of               laeraginsactiOn Support Fees
     $500 if it iiriarieS to enable any Of itS Alos to access the System          Customer shall be entitled to appoint ten (10) Autho zed Persons
     with respect to Money Market instrument Transactions.                        (including at least one Customer administrator) at nq additional
                                                                                  charge to the Customer ("Base Users"). if the CuS rter wishes
      45"ttkr0e01..C401.er Fees
                                                                                  to designate APs in addition to the Base Users, the Customer
     The SC dent Fees shall be the same as under the "Base Plan."                 shall be subject to monthly User/Transaction Support Fees of
                                                                                  $200 per user in excess CAIN Base Users.
     "QuiCkCOrtneetly
                                                                                  Money Market Fees                                   1
     The FXellOuickConnectTM fees shall be the same as under the
     Base Plan,"                                                                  The Customer shall be subject to a monthly Money Market Fee of
              1                                                                   $500 if it wishes to enable any of its APs to access the System
     FXall TrAP1 TM
                                                                                  with respect to Money Market Instrument Transactions.
     The TrAPlini Set-Up Fee and TrAFITm Maintenance Fees shall
     be the same as under the "Base Plan."
                                                                                  Settlement center   Foos..
                                                                                  The SC Event Fees shall be $0 for first 200 SC Events in a
     FXall "Ruby Plan" Trial Offer Period
                                                                                  Calendar month and $1.00 per SC Event In excess Of 200 in Such
     For Customers electing the "Ruby Plan," EXall shall waive                    calendar month; provided that the initial matching of any money ,
     any Special Plan Fee, User/Transaction Support Fees, Money                   Market Instrument Transaction conducted on the FXall System
     Market Fees and SC Event Fees for the period (the "Trial                     shall not be subject to SC Event Pees.
     Petted") beginning on the Effective Date and ending on the
     earlier to Occur of (a) that date that is one month after
     Customers first Transaction through the System, (b) that

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MAY-18-2007 17:45                         ING Investment Management                                                                         P.010
      08-13555-mg               Doc 22630-1             Filed 11/16/11 Entered 11/23/11 10:58:46                                 Exhibit A -
                                                             F Pg 14 of 37

     'QuickConnectr"                                                              The -FXall QuIckConnecti" fees shall be the same as under the        ;1.
                                                                                  "Base Plan." provided that for CuStOmer'S first implementation t
     The *FXall QuickConnect .'" fees shall be the same as under the              QC Integration Fee and the QC Maintenance Fees Shall each be
     "Base Plan,' provided that for Customer's first implementation the           $0 if such implementation is via either the QC Integlation ToolKit
     QC Integration Fee and the QC Maintenance Fees shall each be                 or the QC Standard Integration Service.
     $0 if suchlimplementation is via the QC Integration TooIldt.
                                                                                  Fxall TrAPIT"
     FXell TrAPIlm
                                                                                 The TrAPITm Set-Up Fee and TrAPI 111 Maintenance Fees shall
     The TrAP1 111 Set-Up Fee and TrAPill, Maintenance Fees shall                be the same as under the -i3ase Plan,"
     be the Sam
              , as Under the "Base Plan."
                                                                                  FXalf "Sapphire Plan" Thal chlor     .erta
     FXall "Emerald Plan" Trial Offer Perio_d
                                                                                 For Customers electing the "Sapphire Plan," mai shall waive
     For Customers electing the "Emerald Plan,- FX.aii shall waive               any Special Plan Fee, Userrfransacuen SupportlFees, Money
     any Special Plan Fee, UserfTranSaCtiOn Support Fees. Money                  Market Foes and SC Event Fees for the period (the "Trial         I
     Market Fees and SC Event Fees for the purled (the "Trial                    FerkXI") beginning on the Effective Date and ending on the
     Period") beginning on the Effective Date and ending on the                  earlier to Occur Of (a) that data that IS one month after
     earlier to !occur of (a) that date that Is one month after                  Customer's first Transaction through the System, (b) that
     Customers that Transaction through the System, (b) that                     date that Is one month after Customers first SC Event, or (c)
     date that is one month after Customer's first SC Event, or (c)              that date that is three months after the EffeCtIVe Date. In the
     that date that is three months after the Effective Date. In the             event Customer wishes to commence a QuickConnectn"
     event Customer wishes to commence a QuickConnecfrm                          Implementation during the Trial Period, Customer shall pay
     Implementation during the Trial Period, Customer shall pay                  FXrdi a QC Integration Fee of $10,000 in respect thereof.
     FX.all a QC integration Foe of 510,000 In respect thereof.
                                                                                 Customer may terminate this Agreement at any time during
     Customer may terminate this Agreement at any time during                    the Trial Period by giving notice to FXall; any amounts paid to
     the Trial Period by giving notice to FX311; any amounts paid to             Riali during the Trial Period (e.g., a QC Integration Fee) shall
     FXall during the Trial Perled leg., a 00 integration Fee) shall             he non-refundable. In the event that Customer does not
     he non-refundable. In the event that Customer does not                      exercise its option to terminate title Agreement during the           ;.
     exercise its option to telminate this Agreement during the                  Trial Period, any QC Integration Fee paid during t he Trial
     Trial Period, any QC integration Fee paid during the Trial                  Period shall be credited future amounts payable to FXaii.
     Period shall he credlted against the QC integration Fee
     payable, if the Implementation was via the QC Standard                     FXall "Diamond Plan"
     Integration Service, or against future amounts payable to
     FXsil, if tlo implementation was via the QC Integration                     FXall "Diamond Plan" Special Plan Fe
     TO011dt.                                                                    The FXall "Diamond Plan" requires Customer to pay a monthly
   FXall "Sapphire Plan"                                                         Special Plan Fee Of $11,000, and provides Customer the
                                                                                 following changes from the FXall "Base Plan."
     FXall "SapphirePan"Speial Plan roe
                                                                                 User/Transaction Su000rt Feet,
     The FXaid"Sapphire Plan" requires Customer to pay a monthly
     Special Plan Fee of $2,995, and provides Customer the following             Customer shall be entitled to appoint thirty (30) Aut prized
     changes from the FXall "Base Plan."                                         Persons (Including at least one Customer administrator) at no
                                                                                 additional charge to the Customer ("Base Users"). If the
     User/TRin pl eotion Support Fees                                            Customer wishes to designate APs in addition to the Base Users,
                                                                                 the Customer shall be subject to monthly User/Transaction
     CustOmer 'shall be entitled to appoint fifteen (15) Authorized
                                                                                 Support Fees e $100 per user In excess of the Base Users.
     Persons (including at least one Customer administrator) at no
     additional !charge to the Customer ("Base Users"). If the                   Money Market Pees
     Customer*ishes to designate APs in addition to the Base Users,
     the CustoMer shall be subject to monthly User/Transaction                   The Customer shall be subject to a monthly Money Market Fee of .!
     Support Fees of $150 per user in excess of the Base Users.                  $500 if it wishes to enable any of its APs to access the System ;
                                                                                 with respect to Money Market Instrument Transacficim.             $
     Idgmaldalltam                                                               Settlement Center FeeS
     The Customer shall be subject to a monthly Money Market Fee Of
     $500 if it wishes to enable any of its APs to access the System             The SC Event Fees shall be $0 for first 5,000 SC Events in a
     with reaped to Money Market instrument Transactions.                        calendar month and $1.00 per SC Event in excess cif 5,000 in
                                                                                 such calendar month; provided Mat the initial matching of any
     Settiemen Center Fees                                                       Money Market Instrument Transaction conducted on the FXall
                                                                                 System shall not be subject to SC Event Fees.
     The SC Evel nt Fees shall be $0 for first 1,000 SC Events in a
     calendar Month and $1.00 per SC Event in excess of 1,000 in                 *QuickConnectl"
     such calendar month; provided that the initial matching of any
     Money Market Instrument Transaction conducted on the FXall                  The *FXall QuickConnect'" fees shall be the same as under the               :
     System shall not be subject to SC Event Fees.                               "Base Plan," onavideir that for Customers AnSt implementation thi           1
                                                                                 OC Integration Fee and the QC maintenance Fees shall each be
                                                                                 $0 if such implementation is via either the CC Integration Toolkit
                                                                                 or the CC Standard Integration Service, In either case, an
                                                                                 integration of a single Customer system at a single location to
                                                                                 both the FXall Trading Center and Settlement Center shall give
                                                                                 rise to only one QC Integration Fee.
                                                                                       TrAP1 ,"
     *Quickconnect""
                                                                                 The TrAPITII Set-Up Fee and TrAPII'm Maintenance Fees shall
                                                                                 be $0.
                                                                                 FXalt" Dia m e nd Pl a n" Trial citkagli.Zi

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MAY-18-2007 17:45                        ING Investment Management
       08-13555-mg             Doc 22630-1            Filed 11/16/11 Entered 11/23/11 10:58:46                             Exhibit A -
                                                           F Pg 15 of 37                                                                        ;


     For Customers electing the "Diamond Plan," FXall shall waive             Shall pay FXall a "Provisional implementation Fee" of $10 00
     any Special Plan Fee, UserfTransactien Support Feet, Money               In respect thereof. Customer may terminate thiS Agreement
     Market Fees and SC Event Foes for the period (the "Trial                 at any time during the Trial Period by giving notice to FX0111;
     Period") beginning on the Effective Date and ending on the               any amounts paid to FXall during the Trial Period (e.g., a
     earlier toloccur of (a) that date that is one Month after                Provisional implementation Fee) shall be non-refundable_ in
     Customers first Transaction through the System, (b) that                 the event that Customer 0005 not exercise its option to
     date that ls one month after Customers first SC event, or (c)            terminate this Agreement during the Trial Period, any
     that date that Is three months after the Effective Date, in the          P rovisional implementation Fee paid during the Trial Period
     event Customer wishes to commence an implementation of                   shall be credited future amounts payable to Fxali,
     QukkConnectl" or TrAPP, during the Trial Period, Customer



   All Special Pricing Plan eleCtions shall be effective for a period of one year from the time the election is made (the "Pricing Plan India
   Term"), and shall automatically be extended by successive One year periods (a "Pricing Plan Renewal Term" and, together with the ,
   Pricing Plan initial Term, the "Pricing Plan Terms") at the end Of each Pricing Plan Term unless either party tOrMhaates Ws Agreement
   as provided herein; provided, however, that any Customer electing to terminate the Agreement pursuant to the terms of Section
   10(a)(111) hereof at any time other that during the Trial Period shall be obligated to pay all fees accrued or which would atlerue under !,
   the Agreement through the end of the then current Pricing Plan Term, Any Customer electing the "Ruby Plan" may change its
   election to any one of the "Emerald Plan," the "Sapphire Plan' or the "Diamond Plan" at any time; any Customer electing the "Emerald
   NEM" may Change its election to any one of the "Sapphire Plan" or the "Diamond Plan" at any time; and any Customer electing the
   "Sapphire plan" may change its election to the "Diamond Plan" at any time. Any such change of plan election shall beive on
   the first day of the calendar month immediately following FXall'S receipt of such Customer's written notice thereof; a clitt eet of
   pricing plan shall not give rise to a new "Triai Offer Period" under the new pricing plan.


  We may make changes to any fee on no loss than thirty (30) days odor written notice to you. If we make new or additional services
  available we May charge for them. A charge Imposed for a new or additional Service Shall not be deemed to be a change to a fee set
  forth above.1You, of course, may decline to subscribe for such service and avoid such charge.




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MAY-18-2007 17:46                            ING Investment Management                                                                       P. 012
        08-13555-mg                  Doc 22630-1          Filed 11/16/11 Entered 11/23/11 10:58:46                                 Exhibit A -
                                                               F Pg 16 of 37

                                                          Annex C -Service Levels Annex


The terms of this Annex C are available to each Customer in respect of the services Customer has elected to receive hereunder.



1, General. The System (Including Additional Licensed Materials)               (c) After Customer has completed its development and final system
and any other materials or services that may be provided by FXali              testing, it will commence validation testing with FXall. The purpOseiof
are provided "as Is," with all faults. Without limiting the foregoing,         this testing is to give FXall an opportunity to determine whether
Customer is solely responsible for Its use of the System (including            Customer is using the Additional Licensed materials' in a manner
any Additional Licensed Materials). We will use Carnmercially                  consistent with FXall specifications and other FXall requirements.
reasonable efforts to make the System available during regular business        (d) Customer will caii the Integration Specialist duriag Deveiop mi
hours in major trading centers (including London, New York. Tokyo and          Support Hours two weeks before Customer wishes to begin validatibn
Hong Kong). We will use commercially reasonable efforts to correct any         testing to schedule a test preparation meeting with tech support and to
problem with theiSystem that you are aware of and that you bring to our        schedule the test Itself. At the test preparation meeting, FXall tei
attentiOn Within a reasonable period of time. We shall use                     support will review the test procedure with Customers deveiope         d
Industry-standard anti-virus Software and security measures to protect         provide the standard test Suite. If validation testing passed
against Viruses operating on the System.                                       successfully and FXall otherwise determines that the Customer
                                                                                                                                                    i
                                                                               implementation as tested meets FXall's requirements. Customer
                                                                               be authorized to proceed with the implementation. lithe testing falls,
2. Additional UeenSed Materials. FXall will provide to Customer one            Customer will cOrrect all errors and reschedule the lactation test. r
copy of each of Otall QuickConnect ,m, any FXall API and any other             Validation testing will be repeated as necessary.
Additional Licensed Materials which the Customer has elected to license
                                                                               (e) If, during the initial validation testing, Customer experiences
under the Agreement promptly after receipt by rXati of any fee                 significant or sustained failures caused by nonconfol -mity of the
associated with such Additional Licensed Materials that are required to        Additional Licensed Materials with the applicable specifications, a
be paid in advance (e.g., the QC Integration Fee or the TrAPITM, Set-Up        net caused by the Customer implementation Or by guSterrer error',
Fee). If Customer Additional Licensed Materials do not function In
                                                                               then Customer may pursue the Development Suppcirt procedure Set
accordance with 'their specifications. Customer may invoke the                 forth herein. If, after 30 days, the failures are unresolved, Custo
procedure for Development Support set forth in this Section 2 with             shall have the right to terminate its subscription to trie relevant
respect to such asserted problem ("Development Support Issue").
                                                                               Additional Licensed Materials.
  (a) Customer il will be entitled to designate up to two developers
  employed by Customer ("Designated Developers") as authorized to
  call FXall for Development Support with respect to Development             3. Use of the FXall Trading System. Appropriately lizensed Cus
  Supped issues. Customer will register the name of each such                users may use the FXall graphical user interface to trade over the FX
  developer and, a unique personal identifier for each such developer by     platform pursuant to an FXall User Agreement; if the COstorner is 1;
  calling the FXall integration specialist ("Integration Specialist")        Implementing Additional Licensed Materials, appropriately licensed :
  assigned to CUstomer at such integration Specialist's office. FXall will   Customer users may use the Additional Licensed Matriais once the
  use commercially reasonable efforts to provide Development Support         Customer Implementation has passed the validation te t. A user ,
  to Designated 'Developers for Development Support issues reported to       experiencing a problem Using the System (a "User Support Issue" mil
  the integration Specialist between the hours of 9:00 A.M. and 5:00         call the FXaii CIO between the hours of 6;00 p.m. Ne:Vork City time
  P.M. local time. Monday through Friday, at such Integration                Sunday and 5:00 p.m. New York City time Friday (ex pt for the perlialla
  Specialist's oflice (le., one of New York, London, Tokyo, or               from 2:00 a.m. through 5:00 p.m. New York time on December 25 21' and
  Singapore) wilh the exception of local bank or stock exchange              the period from 6:00 p.m. New York time on DeCemeell 31 m thrOugh 5 00
  holidays ("DeVIelOpment Support Hours").                                   p.m. New York time on January l it) ("User Support Hours" for User
  (I)) In the event Customer requires Development Support for a              Support with respect to such User Support Issue. Customer
                                                                                                                                   i     will inf oii
  Development Support issue, one of the two Designated Developers            the CIC of the user's name, a personal identifier, and call bath null
  May call the Integration Specialist during integration Support Hours.      Once
                                                                                the Identity of the user is confirmed by the CIC ( ia FXall's l' .
  Once the identity of the Developer is confirmed, the Developer will        authentication process), Customer will report the naturi of the probleni
  describe in commercially reasonable detail the Development Support         and describe In commercially reasonable detail the U r Support Issue.
  issue. FXall Will then use commercially reasonable efforts to have         FXallwill classify the User Support Issue as:
  FXall tech support call the Developer to discuss the Development             (1) level 1 - user Is uncertain whether a trade has been properly
  Support issue iwithin two hours (excluding any period outside Support
                                                                               executed,
  Hours) thereafter. If the Development Support issue cannot be
  resolved during the call, FXall tech support will address the issue off-     (2) level 2- user is unable to request a quote or trade, or
  line and report bath to the Developer within 24 hours. If FXall tech         (3) level 3 - any other User Support ISSUeS.
  support is unable to resolve the Issue within 24 hours, FXali will use     For duly reported User Support Issues, FXas will use ItS C.Ommereia
  commercially rieasonable efforts to work with Customer to try to           reasonable efforts to provide User Support as foliows:
  replicate the problem at FXall's site. If the Development Support ISSUO
  cannot be resolved within three business days, the Issue will be             (a) level 1 - work directly with user to resolve;
  escalated to FXall engineering for further investigation. rXeii              (b) level 2 - respond to Customer within 30 minutes (exclusive of
  development Management will also be notified of the problem at this          periods outside User Support Hours) With an estimated time to
  pOInt, if, after 'five business days the problem is unresolved, at           resolve;
  Customer development management's request FXali development                  (C) level 3 - respond to Customer within four hours (exclusive of
  management Will confer with Customer to develop a problem                    periods outside User Support Hours) with an estimated time to
  resolution plan. if, after ten business days, the problem is unresolved,     resolve.
  at Customer's request the FXall CTO will confer with Customer to
  develop a problem resolution plan. Thereafter FXall shall make such
  further changes. If any, as FXall determines to be feasible and
  practicable. Designated Developers may also submit Development             4. System Unavailability. If ail, or substantially all, 01 jthe trading 1
                                                                             functionality of the System Is generally inaccessible or ouse l)* for anY
  Support issues by e-mail to techsupportetoll.com . Such e-mails will
  be responded to within 24 hours (exclusive of periods outside              reason outside of Customer's control (other than for maintenance
                                                                             scheduled by FXall) for a cumulative period of four (4) or more hourS
  Development Support Hours).
                                                                             during the period between 9:00 a.m. and 5:00 p.m. Nei ls, York City ti


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MAY-18-2007 17:46                          ING Investment Management                                                                 P.013
        08-13555-mg                Doc 22630-1          Filed 11/16/11 Entered 11/23/11 10:58:46                          Exhibit A -
                                                             F Pg 17 of 37                                                                     ;
on any businesS day (such day, a "SWIM Failure Day), any monthly          Customers COnneCtivity SerVice provider or (iv) Customers own inablifty
fees payable will respect to the month in which such System Failure       to access the internet shall not be deemed to he for reasons outside:
Day occurs shall he pro-rated on a daily basis to deduct amounts          Customers control. In the event ten (10) or more System Failure s
otherwise payab e for each such System Failure Way that occurred          occur within any month, then Customer may terminatellhe Agreemehti
during such month. For the avoidance of doubt, Customer's inability to    notwithstanding any other terms of the Agreement, and receive a re •
access or use the System for reasons attributable to (i) Customer's own   of any prepaid unapplied fees for the relevant failure period.     ft
systems, (ii) any of Customers application service providers, OD




MG Investment AM 2007.03.15.07 C                                    C-2
MAY-18-2007 17:46                               ING Investment Management                                                                          P. 014
        08-13555-mg              Doc 22630-1               Filed 11/16/11 Entered 11/23/11 10:58:46                                    Exhibit A -
                                                                F Pg 18 of 37


                                                                  Annex 0- The Territory

                                                           List of Jurisdictions and Restrictions

   Pert I -gyrIldlolone wIthsut Restrictlone l

   Australia2
   t                                        Fiji                                    Jordan                                    Qatar
   Bahamas                                  /   Finland'                            Kuwait                                    Singapore2
   Bahrain                                  Germany                                 Lebanon                                   Spain'
   Bergiurri a                              /Hong Kong                              Luxembourg                                Sweden'
   aotivia                                  /Hungary                                Mexico                                    Switterlarid
   British       Islands                    Iceland                                 Norway                                    Taiwan
   Cayman islands                           Indonesia                               /Panama                                   Turkey
   Chile                                    Israel                                  Peru                                      United Arab Emirates
   DenMarks                                 Japan                                   Philippines                               Venezuela
   Egypt                                    Jersey                                  Portugals


   Part II - Jurisdictions with Restrictions'

   Austria           The Customer is a corporation (AG. GmbH.                      Cyprus                The Customer is not an individua , but is a
   Grnbli&Co KG) registered and domiciled in Austria.                              professional or institutionar investor within the meaning of Annex
   Bermuda The Customer represents and warrants that it carries on                 ONE of the Code of Business Conduct of Investment rim
   business frorin Bermuda or Is based, incorporated or registered in              Directive 1/2003, Is located and registered in Cyprus, and holds all
   Bermuda and, as any one of the foregoing. Is                                    the required licenses and authorizations to access and trade on th
                                                                                   System.
         (A)a body corporate that has total assets of not less than
         US$5,000,000 whether such assets are held solely by the                   Frances               The Customer is not an individual but Is a
         corporate body or held partly by the corporate body and partly            corporate or institutional professional investor.
         by any other corporate body of which it is a subsidiary                   /Greece                The Customer is an institution resident in
         company or a holding company: or                                          Greece and is a non-credit institution,
         (B) an Unincorporated aSSOCIatiOn Or a trust that has total               / Guernsey             The Customer is resident within the Bailiwick o
         assets Of not less than US$6,000,000; or                                  Guernsey and is licensed either under The Protection of investors
                 I                                                                 (Bailiwick of Guernsey) Laws, 1987 to 1998 or under          Banking
          (C) a collective investment scheme approved by the Bermuda                                                                        The
          Monetary Authority; or                                                   Supervision (Bailiwick of Guernsey) Law, 1994.
         (0) a body corporate in which all of the shareholders are                 /India              The Customer is located and registered in India
         "sophisticated investors', "high net worth private investors" or          and is not in any manner disqualified under the provisions of the
         "high income private investors" as those terms are defined in             Foreign Exchange Management Act. 1999 from accessing and              ,
         the Investment Business Act 1998.                                         using the FXall System and transacting In the mannell that it
                                                                                   proposes to: and any Transaction so contemplated by the Custom
   /Canada             The Customer is in Canada and                               Is a genuine transaction and is not intended lo, and does not
       (A) in the case of a Customer located in the province of                    involve, and is not designed for the purpose of, any contravention
       Albertai such Customer is acting as principal and is a                      evasion of the Foreign Exchange Management Act, 1999 or any
       "Qualified Party" as such term is defined in Blanket Order 91-              rule, regulation, notification, direction or any order made thereUnde
       502(AB).                                                                    Ireland s              The Customer is operating in Ireland ter
         (B) in the case of a Customer located in the province of British          purposes of this Agreement and
         Colombia, such Customer is acting as principal and is a                        (A) is within the category of investors who by virtue of the
         "Qualified Party" as such term is defined in Blanket Order 91-                 Investment Intermediaries Acts, 1995 to 2000, the Code of
          01(BC)                                                                        Conduct and the Handbook for Investment and Stockbroking
         (0) in the case of a Customer located in any province or                       Firms issued thereunder may be regarded as professionals In
         territOn4 Other than Alberta and British Colombia. Such                        all investment services and instruments descnbeld in the
         Customer is an equivalent to a "Qualified Party" as defined in                 Annex of the EU Investment Services Directive, nciuding
         BlanketlOrder 91-502(AB) or Blanket Order 91(501 )(BC)
                                                                                                                                                            1.   ,

                                                                                               (1) Credit Institutions:
         above.
                                                                                               (2) Investment firms;
         (0) in the case of a Customer located in the province of
         Quebec, the Customer acknowledges and agrees that it has                              (3) Other authorised or regulated financial institutions:
         expressly requested that all documents be drawn up in the                             (4) Insurance companies;
         English language only. Lo Customer consent A co quo tous
         løs doCuments *elm* rodlgos on anglais seulement.                                     (6) Collective Investment schemes and management
                                                                                               companies of such schemes;
        (E) the pi arties hereto declare that they have required that this
        Agreement and all documents and notices relating thereto be                            (5) Pension funds and management companies of such
        drawn up in the ngilsh language only.                                                  funds; and
         LOS parties au presentee deolarent qu'ellos on exige quo                              (7) National governments, Central Banks, international                ,
         cette entente et tous tee documents et avla y afferent:4                              and supranational institutions; and
         solent riedigee en league anglaise seulement                                   does not ask for any higher level of protection than is extende d
         The Customer further represents that all Money Market                          to professional clients; Or
         Transactions entered Into shall be consistent with the                         (B) is one of the following institutions within the Legory of
         requirements of the Bank Act, If applicable.                                   large and institutional Investors who by virtue of Ow Investme nt
                                                                                        Intermediaries Acts, 1995 to 2000, the Code of Conduct and



   ING Investment AM 2007.03.15.07 D                                         0-1
MAY-18-2007 17:47                             ING Investment Management                                                                            P.015
       08-13555-mg                Doc 22630-1               Filed 11/16/11 Entered 11/23/11 10:58:46                                   Exhibit A -
                                                                 F Pg 19 of 37

        the Handbook for Investment and Stockbroking Firms issued                       (G) issuers of securities traded in regulated maiets;
        thereuricier may elect to be treated as a professional client;                  (H) companies registered in the register of financial
             (1) a financial institution not included in (A) above;                     intermediaries provided for in Articles 106, 107 and 113 of
             (4 a large company or partnership meeting two of the                       Decree No. 385 of September 1. 1993;
             following three requirements;                                              (I) individuals who satisfy the "good standing  rernents" for
                  (a) balance sheet total of €12,600,000 or greater                     the management and internal auditing of societa
                                                                                        crintermediazione mobiliare (i.e., Italian investment service
                  (h) Net turnover Of €25,000,000 Or greater                            firms);
                  (c) Average number of employees during the                            (..1) fondazioni WI-mane ("banking trusts"):
                  firianCial year Of 250 Or greater;
                                                                                        (K) legal entities which have a sound experience In financial
             (1) an institutional investor not included in (A) whose                    transactions as certified by Its legal representative.
             corporate purpose Is to invest In financial instruments;
                                                                                   Namibia                The Customer is not an individua , but is a
             (4) a commodity dealer;                                               professional or institutional investor located in Namibia and is
             (5) a public sector body;                                             licensed by the Bank of Namibia as an "authorized dealer" to
                                                                                   conduct foreign exchange transactions.
             (6) an issuer Of listed financial instruments (i.e., entities
             whose securities are traded on a regulated market;                    Netherlands'         Customer Is in the Netherlands and
        and hereby elects to be treated as a professional client and                    (A) is one of the following:
        confirms that it has been informed of and is aware of the                            (1) a securities intermediary;
        consequences of electing to be treated as a professional client
        rather Ilan a private client                                                         (2) a credit institution as defined in Article 1 first indent,
                                                                                             Of the Directive 771780EEC of December 12, 1977
  Consequences of electing to be treated as a professional                                   (L322/30):
  rather than a private client: Under the Code 0 Conduct for
  investment and Stockbroking Firms (the "Code") issued by the                               (3) a financial institution as defined in Article 1 (6) of
  Central Bank of Ireland pursuant to the investment Intermediaries                          Directive 89/646/EEC of DeCember 15, 19: (L386/1);
  Acts, 1995 to 2000, private clients of investment business firms are                       (4) an insurance company having funds in sted of at
  accorded a higher level of protection than are professional clients.                       least €25 minion or the equivalent thereof irl foreign
  Those proteCtions that the professional client loses by electing to be                     currency;
  treated as a professional client are;                                                      (5) an investment Institution as referred to i the Act on
        (1) Thai the terms of business prepared by FXali and provided                        the Supervision of investment Institutions       t toezicht
        to the Customer need not contain an outline of the Customer's                        beleggingsinstellingen);
        investment objectives                                                                (6) a pension fund having funds invested at least €25
        (2) That FXall will be entitled to recommend and/or undertake                        million or the equivalent thereof in foreign currency;
        margined transactions and/or any other transactions of a                             (7) a central government;
        variety Stipulated by the Central Bank of Ireland from time to
        time without first having provided a risk disclosure Statement to                    (8) an international and supranational Orge iZatiOn
        the CuStomer and without the Customer having signed a                                governed by public law; or
        statement acknowledging that he/shefit is aware of the                               (9) a legal person having consolidated total assets of at
        associated risks;                                                                    least 6500 million or having funds invested of at least €25, :
        (3) That FXall may enter a relationship with the Customer                            million or the equivalent thereof In foreign currency; and !.
        without having taken all reasonable steps to Obtain from the                    (B) prior to the conduct of any such Transaction, the Custom
        Gusto r details of the Customer's investment objectives,                        will have delivered to Fxaii
        investment experience and any other facts about the
        Customer's financial position which FXall reasonably believes                        (1) a copy of the official extract of the Cost mer's Dutch
        it need d to know, and ought reasonably be expected to attempt                       registration with the Trade Register of the Chamber of
        to find out (which requirements apply in the Case Of Certain                         Commerce in the Netherlands or
        private clients only);                                                                                                             i is a bank.
                                                                                             (2) a certificate to the effect that the Customer
        (4) That FXall need not take all reasonable steps to ensure                          securities intermediary, insurance compan or investme
        that an advice which it gives or transactions which it effects                       Institution in the Netherlands which Is regis red or has a
        for the Customer are suitable for the Customer (which                                license under, respectively, the Act on the Supervision o
        requirements apply In the case of certain private clients only);                     Credit institutions 1992 the Act on the Supervision of
        and                                                                                  Securities Trade 1995, the Act on the Supervision of       ;
                                                                                             insurance Business 1993 or the Act on the Supervision ok
        (5) That FXall Is not restricted from making unsolicited calls to                    investment institutions; and
        the Customer,
                                                                                        (C) the person or persons executing the User Agreement on ,
  tItaly3              The Customer qualifies as a professional                         behalf of the Customer and any Authorized Person conducting ;
  Investor, which includes the following categories under Italian                       Transactions within or from the Netherlands on behalf of the ;
  regulations; !                                                                        Customer shall be registered with the Trade Itter as           I
        (A) authorized intermediaries, as defined in Article 25 of                      having authority to represent the Customer or identified
        CONSOB Regulation No 11622 of July 1, 1998;                                     through a deed drawn up before a notary, a copy of which
                                                                                        shall have been provided to FX811.
        (B) management companies (societa di gestione del
        lisparmio);                                                                In addition, Customer represents that is organized under the laws of
                                                                                   the Netherlands or is resident in the Netherlands and further
        (C) Undertakings for Collective Investment in Transferable                 represents, which representation will be deemed repeated upon
        Securities ("UCITS"):
                                                                                   entering Into each Money Market Transaction (i.e„ each bank roan
        (D) pension funds;                                                         or bank deposit transaction), that is falls into one of the following
        (E) InsUrance companies;                                                   categories of "qualified investors" under applicable DUrtch laws and
                                                                                   regulations;
        (F) fore gn legal entitles which carry out, under mutual
        recognition, the activities mentioned under (A) to (E) above;


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MAY-18-2007 17:47                            ING Investment Management                                                                            P.016
       08-13555-mg               Doc 22630-1               Filed 11/16/11 Entered 11/23/11 10:58:46                                   Exhibit A -
                                                                F Pg 20 of 37

        (1) banks, insurance companies, securities firms, collective                    (B) in the course of and for the purposes of its bitsiness, it
        investment Institutions or pension funds that are supervised or                 habitually invests money.
        licensed under Dutch law, including their Netherlands                                                                              I
                                                                                   Customer agrees that Customer understands that FXEI II is not a
        subsidiaries provided such subsidiaries are also subject to                registered or authorized exchange arid does not operate a
        prudential supervision (either directly or indirectly through              SeCtirIlleS market regulated under New Zealand law.
        consolidated supervision at the level of their parent company);
                                                                                   Oman                  The Customer i5 located and registered in the
        (II) banks or securities firms licensed or supervised in a                 Sultanate of Oman as a professional or institutional investor and is:
        European Economic Area member state (other than The
        Netherlands) and registered With the Dutch Central Bank (De                     (A) licensed to conduct banking business by the Central Bank
        Naderlandsche Bank N. V.; "DNB") or the Netherlands                             of Oman; and/or
        Authority for the Financial Markets (Stichting Auforiteit                       (B) licensed to conduct foreign exchange transactions by the
        Financiele Marktery "AFM") acting through a branch office In                    Central Bank of Oman; and/or
        The Netherlands;                                                                (C) licensed as a broker or intermediary by the Capital Market
        (11i) Neitheriands collective investment institutions which offer               Authority.
        their shares or participations exclusively to professional                 Poland             The Customer represents that the Customer's
        investors or are otherwise exempt under the Exemption
        Regulation pursuant to the Investment Institutions Supervision
        Act;
        (IV) the Dutch government (o'e Stoat nor Nederlanden), DNB,
        Dutch regional, local or other decentralised governmental
                                                                                   accessing the System, using FXall Content and execiliting
                                                                                   Transactions through the System remains In full compliance with
                                                                                   the Customer's pertinent national regulations regarding foreign
                                                                                   exchange and, in particular, does not invoke the nearsity to obtain!
                                                                                   any foreign exchange permits under such regulations
                                                                                                                                                            Fl
        institutions, or any international treaty organisations and                Russia              The Customer Is located and reg stered in the ,
        supranational organisations located in The Netherlands;                    Russian Federation as a legal entity and holds all req ired license
        (V) Netherlands enterprises Or entities with total assets of at            permits and authorizations to access and execute Tr nsactions on
        least €.600,000.000 (or the equivalent thereof in another                  the System.
        currency) according to their balance sheet at the end of the               South Africa        The Customer is In South Africa and
        financial year preceding the date they acquire the Notes or any
        interestltherein;                                                               (A) Is one elm following:
        (VI) Netherlands enterprises, entitles or Individuals with a net                       (1) a registered company;
        equity (elgen vetrnogen) of at least €10,000,000 (or the                               (2) a registered broker;
        equivalent thereof In another currency) according to their
        balance sheet at the end of the financial year preceding the                           (3) a registered asset manager;
        date they acquire the Notes or any interest therein and who or                         (4) a registered King andfOr short-term insurer;
        which have been active in the financial markets on average
        twice a Month over a period Of at least two consecutive years                          (5) a registered bank or branch Of a foreign bank;
        preceding such date;                                                                   (6) a registered pension fund;
        (VIII) any Netherlands Person or Netherlands entity who or                             (7) a registered unit trust management company;
        which is subject to supervision by a regulatory authority in any
        countryinn order to lawfully operate in the financial markets                          (8) a parastatal institution such Eskom o Feikom; an
        (which eludes: authorised credit institutions, investment
        firms, other authorised or regulated financial institutions,
                                                                                        (1) has complied, and will continue to comply, with ail of the          '

        insuranCe companies, collective investment schemes and their
                                                                                        provisions of the Exchange Control Regulations, 1961 Issued
        management companies, pension funds and their
                                                                                        pursuant to the Currency and Exchanges Act, 1933 (the
        management companies, and commodity dealers);
                                                                                        "Exchange Control Regulations") applicable to the Customer
        (IX) any Netherlands person Or Netherlands entity who or                        for purposes of concluding, and performing its obligations,         ■
        which engages in a regulated activity on the financial markets                  Under this agreement, and for purposes of acceising and
        but who or which is not subject to supervision by a regulatory                  using the trading platform; and
        authority (which includes without limitation: exempt credit
        institutlens, Investment firms, financial Institutions, insurance               (2) has obtained all of the exchange control appriovals requiretil
        companies, collective investment schemes and their                              to be obtained by the Customer, in terms of the Exchange '
        management companies, pension funds and their                                   COntrOl Regulations, for purposes of concluding, and
        management companies, commodity dealers and special                             performing its obligations under, this agreement, and for
        purpose vehicles);                                                              purposes of accessing and using the trading plarrrn.

        (X) any Netherlands entity whose corporate purpose is solely               Thailand            The Customer is registered with the relevant ;
        to Invest in securities (which includes, without limitation, hedge         authority In 'Manama as a financial Institution licensed to engage in '
        funds);1                                                                   foreign exchange transactions including!
       (XI) any Netherlands companies or Netherlands legal entities                     (A) a commercial bank (including Bangkok International
       which meet at least two Of the following three Criteria according                Banking Facilities);
       to their most recent consolidated or nonconsaidated annual                       (B) a finance company, and
       accounts; (i) an average number of employees during the
       financial year' of at feast 250; (ii) total assets of at least                   (C) any other similar juristic person so registered and licensed
       E43,000,000; or (Ai) an annual net turnover of at least                     Untied Kingdom Customer confirms that it
       €50,000,000; or                                                                  (A) is an authorized or exempt person under the Financial
       (XII) companies having their regiStered office in The                            Services end MarketS AO 2000;
       Netherlands which do not meet at least two of the three criteria                 (B) would be classified as an "overseas financial InStitutIon"
       mentioned in (XI) above and which have (a) expressly                             within the meaning of the UK Financial Services Authority
       requested the AM to be considered as qualified investors                         Handbook of Rules and Guidance for Regulated Firms;
       (within the meaning of Directive 20031711EC) and (b) been
       entered on the register of qualified investors maintained by the                 (C) is a body corporate (including a limited liability
        AFM.                                                                            partnership) which has (Or any Of whose holding companies or
                                                                                        subsidiaries has) Cailed up share capital of at least £10 million
   New Zealand           The Customer represents that                                   (or its equivalent in any other currency);
       (A) its principal business is the investment of money; or


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       08-13555-mg               Doc 22630-1              Filed 11/16/11 Entered 11/23/11 10:58:46                                    Exhibit A -
                                                               F Pg 21 of 37
                                                                                                                                                          ;
        (0) is a body corporate that meets (or any of whose holding                     (B) that you may lose protections under the regLiatory system
        companies or subsidiaries meet) two of the following tests:                     that may otherwise be available were you not to be so
                 I (i) a balance sheet total of €12.5 million;                          classified, including, without limitation, all protections
                                                                                        applicable to customers afforded by the rules in 00Ei (other
                     (U) a net turnover of €25 million;                                 than those in COB 9 (Client assets)) and Principle 5
                 I (iii) 250 employees:                                                 (Customer's interests), Principle 8 (Conflicts of interest) and
        (E) is a local authority or public authority:                                   Principle 9 (Customers: relationships of trust) and most Of
                                                                                        Principle 7 (Communications with clients) of the FSA
        (F) is a partnership or unincorporated association which has                    Handbook, and, in respect of Inter-professional business
        net assets of at least £10 million (and calculated, in the case of              conducted between market ceunterparties, mA0 3 (Inter-
        a limited partnership, without deducting loans owing to any of                  professional conduct) of the FSA Handbook will now apply,
        the partners); or
                                                                                        (0) that the person or persons Signing this Agre6Ment On your
        (G) is a trustee of a trust (other than an occupational pension                 behalf have authority to do so,
        scheme, SSAS or stakeholder pension scheme) with assets Of
        at leastl£10 million, calculated by aggregating the value of the                 (0) that you do not object to being classified as inarket
        casn and designated investments forming part of the trusts                       counterparty, and
        assets, but before deducting its liabilities.                                    (E) that your ordinary activities involve you in cerrying on
   Further, you agree!                                                                   Transactions for the purpose of your buSiness.
        (A) the this Agreement constitutes our tten notice to yOu                  United States of America         The Customer Qualifies as an
        that you are being classified by us as a 'market COunterparty"             "eligible contract participenr as defined in the Commodity
        in accordance with our regulatory obligations under the                    Exchange Act
        Financial Services and Markets Act 2004,



   I Unless otherwise noted. thls Agreement shell be deemed entered into between the Customer and FX Alliance, LLC, a Delawar (USA) limi t
   liability company,

   2In these Jurisdictions, this Agreement shall be deemed entered into between the Customer and FX Alliance International, LLC ( RBN 097 26
   640) (a Delaware (USA) company, members liability limited).

   2 in these jurisdictions, this Agreement shall be deemed entered into between the Customer and FX Alliance Limited (regulated by the Ffnanci
   Services Authority) and Customer agrees that it meets the conditions and makes the representations set out under "United Kingdclm" above in !,
   thiS Annex O.

   t Transactions in Money Market Instruments Is not permitted In these jurisdictions.




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MAY-18-2007 17:48                          ING Investment Management                                                                           P.018
       08-13555-mg              Doc 22630-1              Filed 11/16/11 Entered 11/23/11 10:58:46                                   Exhibit A -
                                                              F Pg 22 of 37


                                              Annex E -Supplemental Electronic Trading Agreement


        in order to qualify to use the FXall System to effect Transactions with Providers, you agree that, to the extent these matters are not
   covered by Your Trading Relationship with an applicable Provider, your account with such Provider shall be subject to the followiqg terms and
   Conditions (Capitalized terms having the meanings assigned in the Agreement);

        1. Your execution of the Agreement, or any other agreement with FXaa, shall not supersede or replaCe the terms of any Trading
   Relationship, or any existing agreements or understandings, written or oral, that you have with such Provider; any Transaction on the System
   covered by such existing agreements or understandings with such Provider shall be subject to the terms and conditions thereof.

        2. The representations, warranties, covenants, acknowledgements and agreements made by you in favor of FXail in Sectiols 1. 5, 6, 8.
   11 and 19(d) of the FXall User Agreement In the form attached hereto are made herein for the benefit of such Provider, standing in the place
   of FXall; and all disclaimers and limitations of liabilities made by FXall in Sections 16 and 17 of such FXall User Agreement are made herein
   by such Pr4oider. You acknowledge and agree that WO Provider is a third party beneficiary Of these provisions of the AgreeMerlt in the form
   attached hereto and shall have the ability to enforce its rights thereunder as if it were a party thereto in place of FXall, including Sections 11,
   16 and 17 ot the Agreement, which shall survive any termination of the Agreement

        3. YOU acknowledge and agree that access to and use of the System are through the World Wide Web or other Internet services which
   are not necessarily secure, and such Provider does not warrant that such systems are secure. You shall maintain and take appr priate steps            ;..

   to ensure the security of your an each of your Representatives') access to and use of the System,

        4. Such Provider shall maintain accounts for you in which such Provider shall effect and settle any Transactions entered into between
   you and such Provider, subject to any Applicable Laws, and subject to any agreements or understandings between you and such Provider.

        5. Yoi hereby consent to conduct Transactions and transmit Orders via electronic means and the Internet with such Provider.




   ING Investment AM 2007.0315.07 E
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 23 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 24 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 25 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 26 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 27 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 28 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 29 of 37
                                                                         termination notice.pdf
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 30 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 31 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 32 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 33 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 34 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 35 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 36 of 37
08-13555-mg   Doc 22630-1   Filed 11/16/11 Entered 11/23/11 10:58:46   Exhibit A -
                                 F Pg 37 of 37
